
Martin, J.
delivered the opinion of the court. This case turns entirely on a question of fact. The parish judge has been of opinion the plaintiff has not proven that, on which she expected the judgment of the court.
On the best consideration that we have been able to give to the testimony, which is voluminous, it is not very clear on which side the testimony preponderates, and we are notable to say that the parish judge erred. He heard the testimony from the lips of the witnesses, saw their countenances and was consequently better enabled to come to a correct conclusion, than we can be. In such a case, especially when the judgment is for the defendant, it ought not to be disturbed.
It is, therefore, ordered, adjudged and decreed, that the judgment of the parish court be affirmed with costs.
